
PER CURIAM.
This direct criminal appeal was brought pursuant to Anders v. California, 386 U.S. 738, 87 S.Ct. 1396, 18. L.Ed.2d 493 (1967). *415Having reviewed the entire record, we agree that no reversible error occurred. We affirm the appellant’s revocation of probation and imposition of judgment and sentence. However, we note that the record does not contain a written order of revocation of probation listing the conditions of probation violated. We thus remand for the trial court to enter such an order, consistent with its oral pronouncement. See Walker v. State, 686 So.2d 758 (Fla. 1st DCA 1997). The appellant need not be present.
AFFIRMED.
ERVIN, BOOTH and DAVIS, JJ., concur.
